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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


PAIGE VORARATH                                                                 PLAINTIFF
o/b/o TYLER VORARATH

       v.                              CIVIL NO. 21-5001


ANDREW M. SAUL, Commissioner
Social Security Administration                                                 DEFENDANT


                                     AMENDED O R D E R

       Before the Court is Plaintiff’s Unopposed Motion for Extension of Time to File a Brief.

(ECF No. 13). For good cause shown, and there being no objection thereto, the Court hereby

grants the motion. Plaintiff shall file a brief by no later than October 18, 2021. Defendant shall file

a responsive pleading by no later than, November 17, 2021.

       IT IS SO ORDERED this 2nd day of September 2021.




                                       /s/Christy Comstock
                                       HON. CHRISTY COMSTOCK
                                       UNITED STATES MAGISTRATE JUDGE
